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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

RICHARD SAUERHAFT as father and
guardian ad litem of S.S., DOREEN
SAUERHAFT as mother of S.S., and S.S.,

                          Plaintiffs,

             -against-                               MEMORANDUM OPINION
                                                         AND ORDER
THE BOARD OF EDUCATION OF THE
HASTINGS-ON-HUDSON UNION FREE
SCHOOL DISTRICT, JOHN J. RUSSELL, 05 Civ. 09087 (PGG)
individually and as Superintendent,
THOMAS J. FAZIO, individually and as
Principal, MIKE ROSSI, individually and
as Assistant Principal, and SUSAN
GUINEY, individually and as Technology
Director,

                          Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               This action arises from three offensive e-mails that Plaintiff S.S. received

through her school e-mail account during her freshman year at the Hastings-on-Hudson

high school. Plaintiffs assert that these e-mails constitute sexual harassment for which

Defendant Board of Education of the Hastings-on-Hudson Union Free School District is

liable under 20 U.S.C. § 1681 et seq. (“Title IX”), and for which the individual

defendants are liable under the Fourteenth Amendment and 42 U.S.C. § 1983. (Cmplt. ¶¶

60-94) Defendants have moved for summary judgment on all of Plaintiffs’ claims, and

Plaintiffs have moved to strike certain affidavits and exhibits Defendants filed in support

of their motion and certain paragraphs in Defendants’ Rule 56.1 Statement. For the
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reasons stated below, Plaintiffs’ motion (Docket No. 30) is DENIED, and Defendants’

motion (Docket No. 19) is GRANTED.

                                       DISCUSSION

               Summary judgment is warranted when the moving party shows that “there

is no genuine issue as to any material fact” and that it “is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(c). “A dispute about a ‘genuine issue’ exists for summary

judgment purposes where the evidence is such that a reasonable jury could decide in the

non-movant’s favor,” Beyer v. County of Nassau, 524 F.3d 160, 163 (2d Cir. 2008), and

the Court “resolve[s] all ambiguities, and credit[s] all factual inferences that could

rationally be drawn, in favor of the party opposing summary judgment.” Cifra v. Gen.

Elec. Co., 252 F.3d 205, 216 (2d Cir. 2001).

I.     FACTS

       A.      The Parties

               Plaintiff S.S. was a ninth grade student at Hastings-on-Hudson High

School (the “High School”) during the 2004-05 school year. (Def. Rule 56.1 Stat. ¶ 5) 1

Plaintiffs Richard and Doreen Sauerhaft are S.S.’s parents and legal guardians. (Id. ¶ 6)

During the 2004-2005 school year, Defendant Russell was Superintendent of the

Hastings-on-Hudson Union Free School District (the “District”), and Defendants Fazio,



1
  To the extent that this Court relies on facts drawn from Defendants’ Rule 56.1
Statement, it has done so because Plaintiffs have not controverted those facts with
citations to admissible evidence. Where Plaintiffs disagree with Defendants’
characterization of the cited evidence, and have presented an evidentiary basis for doing
so, the Court relies on Plaintiffs’ characterization of the evidence. See Cifra, 252 F.3d at
216 (court must draw all rational factual inferences in non-movant’s favor in deciding
summary judgment motion). In deciding this motion, the Court has also disregarded
certain evidence in accordance with its ruling on Plaintiffs’ motion to strike, which is set
forth below. (See infra pp. 16-19)
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Rossi, and Guiney were, respectively, the principal, assistant principal, and technology

director of the High School. (Id. ¶¶ 1-4)

        B.     The Offensive E-mails

               The District provides each High School student with an e-mail account

through a network maintained by employees of a New York state agency, the Board of

Cooperative Educational Services (“BOCES”). (Guiney Aff. ¶¶ 6-8)

               On the morning of March 18, 2005, S.S. checked her District e-mail

account from a school computer and found the following message: “FATTY

FATTYFATTYFATTYFATTY fatty mcfatfat wow you are one fat fuck and everyone

hates you.” (Def. Rule 56.1 Stat. ¶¶ 7-9; Pltf. Statement of Additional Facts ¶ 6; Russell

Ex. B) The e-mail was dated March 17, 2005, and originated from the District e-mail

account of High School student M.X. (Def. Rule 56.1 Stat. ¶¶ 8-9)

               Soon after receiving this e-mail, S.S. responded as follows: “you really

need to get a life and stop spending your time trying to bring down others so you wont

feel like the loser you are. im not the one who tries to act cool around everyone he can

find hoping to gain a friend or two. im fine with my life. And its really sad that youthink

calling me fat will diss me.” (Def. Rule 56.1 Stat. ¶ 10; Russell Ex. B)

               On March 18, another e-mail was sent from M.X.’s account to S.S. This

e-mail read: “show me your tits.” (Russell Ex. B; Def. Rule 56.1 Stat. ¶ 8) S.S. received

this e-mail when she checked her District e-mail account at some time between March 18

and March 24, 2005. (Pltf. Statement of Additional Facts ¶ 6) S.S. did not respond to

this e-mail.

               On March 28, 2005, S.S. checked her District e-mail account and found a

third e-mail from M.X.’s account, dated March 25, which read: “you you fat fuck i want
                                             3
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to have sex with you in the middle of hte night. i will grab your tits and suck thm. all

while feeling you up in the vagina.” (Def. Rule 56.1 Stat. ¶ 8; Pltf. Statement of

Additional Facts ¶ 6; Russell Ex. B)

               The third e-mail was the last offensive e-mail S.S. received from M.X.’s

account. 2 (Def. Rule 56.1 Stat. ¶ 21; Pltf. Statement of Additional Facts ¶ 6)

       C.      The District’s Initial Response to the E-mails

               On March 18, after receiving the first e-mail, S.S. printed it out and gave it

to her guidance counselor, Sharon Quigley. (Def. Rule 56.1 Stat. ¶ 11) Quigley gave the

e-mail to her supervisor. (Quigley Dep. 21:3-13) “On or about” March 18, the e-mail

was independently brought to the attention of Technology Director Guiney by Diane

Watson, the BOCES administrator assigned to assist with the High School’s network,

along with another offensive e-mail sent on March 17 from M.X.’s account to a different

student. 3 (Guiney Aff. ¶¶ 12-13; Rossi Ex. L) Guiney met with Assistant Principal Rossi

on March 18 to discuss these e-mails, and Watson was instructed to investigate the origin

of the e-mail sent to S.S. (Id. ¶¶ 14-15)




2
  Although Plaintiffs claim that there “is a great deal of factual dispute about the timing
of these emails” (Pltf. Statement of Additional Facts ¶ 6), this assertion is baseless. The
documentary evidence and S.S.’s testimony are consistent with the dates stated above,
and there is no evidence to the contrary. (See S.S. Dep. 33, 49, 52-53, 65; Russell Ex. B)
Plaintiffs’ argument on this point appears to be based on Defendant Rossi’s deposition
testimony, in which he states that he cannot recall the timing of the e-mails. (Pltf.
Statement of Additional Facts ¶ 6) Rossi’s testimony does not put the timing of the e-
mails in dispute, however, because it does not provide a basis for a jury to find that the e-
mails were not sent or received on the dates to which S.S. testified. See Beyer, 524 F.3d
at 163.
3
  This e-mail read: “i really want to sex you up and stroke your smoth silky body with
my tongue as i slowly undress you. oh baby. you are so hot yet so very very flat.”
(Rossi Ex. L)

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               On or about March 22, 2005, Rossi spoke with both S.S. and her mother

about the first and second offensive e-mails sent to S.S. (Rossi Aff. ¶ 13; Rossi Ex. N at

1) Rossi called S.S.’s mother, Doreen Sauerhaft, and told her that S.S. had received an

obscene e-mail and that he was going to investigate it. (D. Sauerhaft Dep. 13:5-14:21)

Before the end of March, S.S.’s mother called Rossi to ask for an update, and Rossi said

that he “was getting his technology person involved.” (Id. 14:22-15:23) S.S.’s mother

responded that “it was about the right time to do so” because S.S. had received another

obscene e-mail by that point. (Id. 15:18-23)

               At the end of March 2005, after S.S. had received the third e-mail, 4 Rossi

interviewed M.X. about whether he had sent any inappropriate e-mails “into the school.”

(Rossi Dep. 42:6-14) Rossi did not show M.X. the e-mails sent to S.S. (id. at 41:13-

42:21), but either Rossi or M.X. mentioned her name. M.X. stated that he and S.S. had

been friendly but had “had some sort of falling out.” (Id. at 44:8-11) M.X. denied

sending any inappropriate e-mails but admitted that he had given the password for his

District e-mail account to two or three other students. (Id. at 43:2-9, 45:4-6) Rossi later

asked those students whether they had any other student’s password, without mentioning

M.X.’s name; those students denied ever having obtained another student’s password.

(Id. at 43:12-24)




4
  The precise timing of Rossi’s conversation with M.X. is not clear. Rossi’s affidavit
refers only to speaking to M.X. about the “Three Emails,” suggesting that he did not
speak to M.X. until after S.S. had received the third e-mail on March 28. (Rossi Aff. ¶ 9)
Because all rational inferences must be drawn in Plaintiffs’ favor, the Court will assume
that Rossi did not question M.X. until March 28 or later.

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               Principal Fazio also interviewed M.X. in late March. M.X. once again

denied sending the offensive e-mails and claimed that someone had gained access to his

District e-mail account. (Fazio Aff. ¶ 9)

       D.      The District’s Subsequent Actions

               In the months after March 28, Rossi discussed the three offensive e-mails

with M.X.’s mother, with the guidance counselors assigned to both students, and with

police officers assigned to the High School campus. (Rossi Aff. ¶¶ 13-14) Rossi also

observed S.S. “[o]n many school days” while she was performing community service in

the guidance office and believed that she was functioning normally. (Id. ¶ 17) S.S. did

not indicate to Rossi that she felt unsafe or that she feared coming to school. (Id.)

               Between April and May 2005, Rossi also spoke with the Sauerhafts on

approximately 15 to 25 occasions. (Rossi Dep. 184:5-10) Doreen Sauerhaft called Rossi

about once a week to ask about the progress of his investigation; during these calls, she

told Rossi that S.S. was “getting more and more upset.” Rossi assured her that he would

“get [] to the bottom of this.” (D. Sauerhaft Dep. 17:21-18:15)

               The District was not able to determine definitively who sent the offensive

e-mails to S.S., however, in part because one of the network system logs that might have

shown the Internet service provider through which the District network had been

accessed only kept a record of the information for a seven-day period. By the time the

District requested this information, it was no longer available. (Id.) Indeed, the District

did not even begin to attempt to trace the offensive e-mails until mid-May or June 2005.

(See Rossi Aff. Ex. P (May 16, 2005 e-mail from Guiney to Rossi stating that Guiney had

just told Richard Sauerhaft that she “would be searching our system for an electronic



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record of the email”); Guiney Ex. AA (report from BOCES stating that District had

requested that the e-mails be traced in June))

               During a May 31, 2005 telephone conversation, Doreen Sauerhaft told

Rossi that she believed that S.S. was not safe at the high school. (Rossi Ex. N at A105)

On June 13, 2005, after classes for the year had ended but before the start of final exams,

Doreen Sauerhaft sent an e-mail to Principal Fazio expressing concern for S.S.’s safety.

(Fazio Aff. ¶ 18; Fazio Ex. J) After receiving the e-mail, Fazio told S.S.’s mother that he

and Rossi would monitor S.S. and M.X. whenever they were likely to be together, such as

at lunchtime, and that S.S. and M.X. would not be placed in any classes together during

the next school year. (Fazio Aff. ¶¶ 18-19)

               Although Defendants contend that the District changed M.X.’s password

“shortly” after S.S. received the third e-mail on March 28, 2005, they have not offered

evidence showing what date it was changed. (Def. Rule 56.1 Stat. ¶ 20; Fazio Aff. ¶ 10;

Guiney Aff. ¶ 18) BOCES administrator Watson, who changed the password at Rossi’s

and Guiney’s request, testified that she took this action sometime after May 16, 2005.

(Watson Dep. 60:3-20, 124:7-125:13, 135:16-135:20) At an unknown later date, the

District disabled M.X.’s access to the District’s network. (Rossi Aff. ¶ 12; Russell

Aff. ¶ 18; Russell Ex. G) Because the District could not prove that M.X. sent the

offensive e-mails, it did not disable his access as a punishment for sending them. (Rossi

Aff. ¶ 23) Instead, the District took this action because M.X. had shared his password

with others. 5 (Rossi Aff. ¶ 23; Fazio Dep. 135:18-137:4)




5
 The record is not clear as to whether M.X. was required to perform three hours of
community service as discipline for this incident. (R. Sauerhaft Dep. 71:13-18 (stating
                                              7
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       E.      S.S.’s School Performance After March 28, 2005

               After S.S. received the e-mails, she maintained an excellent academic

record, making the high honor roll during the third and fourth quarters of her freshman

year. (S.S. Dep. 16:18-17:14) She missed at least three days of school, but otherwise

had normal attendance and continued to play on the school softball team. (See S.S. Dep.

41:16-22, 55:4-9, 113:12-16 (stating that she missed the last three days of school), 132:2-

5; Rossi Aff. ¶ 18 (stating that S.S.’s attendance was satisfactory based on school

records))

               S.S. testified, however, that she felt “freaked out about going to school”

and socialized less with High School students. (S.S. Dep. 98:18-20, 127:11-17) She also

saw a therapist twice. (Id. at 146:11-17)

II.    PLAINTIFFS’ TITLE IX CLAIM

               Plaintiffs’ Title IX claim is based on the theory that the three e-mails sent

to S.S. constitute student-on-student sexual harassment. (Pltf. Br. at 3, 6) To prevail on a

Title IX student-on-student harassment claim against a school board, a plaintiff must

show: (1) that the school board was a recipient of federal funds; 6 (2) that it “act[ed] with

deliberate indifference to known acts of harassment in its programs or activities;” 7 and




that he understood that M.X. was required to perform community service); Rossi Aff. ¶
23 & Ex. T (stating that M.X. was required to perform community service); Fazio Dep.
135:18-137:4 (stating that M.X. was not required to perform community service and that
the only discipline imposed on M.X. was loss of his network privileges))
6
  It is undisputed that the Board of Education of the District meets this requirement.
(Pltf. Statement of Additional Facts ¶ 20)
7
  Defendants do not dispute that the District learned of each e-mail on the day S.S.
received it, and that the alleged harassment, which occurred through the District’s e-mail
system, took place as part of the District’s “programs or activities.” Davis v. Monroe
Cty. Bd. of Educ., 526 U.S. 629, 633, 119 S.Ct. 1661, 1666 (1999). (Def. Br. at 8-18
                                              8
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(3) that the harassment was “so severe, pervasive, and objectively offensive that it

effectively bar[red] the victim’s access to an educational opportunity or benefit.” Davis

v. Monroe County Bd. of Educ., 526 U.S. 629, 633, 119 S.Ct. 1661, 1666 (1999). While

this Court cannot rule as a matter of law as to whether the District acted with “deliberate

indifference,” the District is nonetheless entitled to summary judgment on Plaintiffs’ Title

IX claim, because Plaintiffs have not offered sufficient evidence for a jury to find in their

favor on the “severe and pervasive” issue.

                To prevail on their Title IX claim, Plaintiffs must show that the alleged

harassment experienced by S.S. was “so severe, pervasive, and objectively offensive, and

. . . so undermine[d] and detract[ed] from . . . [S.S.’s] educational experience, that . . .

[S.S. was] effectively denied equal access to . . . [the High School’s] resources and

opportunities.” Davis, 526 U.S. at 651, 119 S.Ct. at 1675. Acknowledging “the

inevitability of student misconduct” and the “practical realities of responding to student

behavior,” the Supreme Court has explained that this standard will not be met by “simple

acts of teasing and name-calling,” nor will it be met by a “single instance of one-on-one

harassment” unless the instance is “serious enough to have the systemic effect of denying

the victim equal access to an educational program or activity.” Id., 526 U.S. at 652-53,

119 S.Ct. at 1675-76. Thus, in determining whether the alleged harassment meets the

“severe, pervasive, and objectively offensive” requirement, the Court “view[s] . . . [the

situation] as a whole, keeping in mind that students often engage in insults, banter,

teasing, . . . and gender-specific conduct that can be upsetting to the student receiving it,




(arguing only that its response was not unreasonable and that S.S. was not subjected to
“severe and pervasive” harassment))

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but [such conduct] . . . does not amount to an actionable Title IX claim.” Riccio v. New

Haven Bd. of Educ., 467 F. Supp. 2d 219, 227 (D. Conn. 2006).

               While the three e-mails sent to S.S. were objectively offensive, they do not

constitute harassment so severe and pervasive that a jury could find that the standard for

establishing Title IX liability is met here. The three e-mails were sent over a week’s time

and were read by S.S. over a period of 10 days. (See supra pp. 3-4; Pltf. Br. at 1-3) It is

undisputed that there was no physical or public component to the harassment. Therefore,

the issue is whether the two 8 crude, sex-related e-mails sent to S.S. over a 10-day period

could reasonably be considered sexual harassment so severe and pervasive as to deprive

her of an educational opportunity at the High School.

               Plaintiffs cite only one student-on-student harassment case in support of

their argument that the e-mails at issue here meet the “severe and pervasive” standard.

However, that case, Davis, 526 U.S. 629, is clearly distinguishable. In Davis, the alleged

harassment occurred regularly over a period of five months and “included numerous acts

of objectively offensive touching” for which the harasser ultimately pleaded guilty to

criminal sexual misconduct. Id., 526 U.S. at 633-34, 119 S.Ct. at 1667. Thus, the

harassment was both substantially more severe and substantially more pervasive than in

this case. See also, e.g., Riccio, 467 F. Supp. 2d at 227 (denying summary judgment on

issue of severity and pervasiveness where student was subjected to harassment “nearly




8
  The first of the e-mails was not understood by S.S. to be sexually explicit (S.S. Dep.
44:4-10) and did not otherwise relate to her gender.

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every school day” throughout an entire school year by more than a dozen students in

public settings such as classrooms and hallways). 9

                In contrast, where, as here, the alleged harassment was less severe or less

frequent, courts have granted summary judgment to the defendants. For instance, in

Brodsky v. Trumbull Bd. of Educ., No. 06-Civ.-1947, 2009 WL 230708 (D. Conn. Jan.

30, 2009), the conduct at issue included the alleged female harasser calling the female

plaintiff “whore,” “prude,” and “bitch” on various occasions over several months and

touching the plaintiff’s breasts or buttocks in the school hallway on one occasion. Id. at

**1, 6. The court found that this conduct was “not so severe, pervasive, and objectively

offensive that . . . [it] could reasonably be said to deprive . . . [the plaintiff] of access to

the educational opportunities or benefits provided by the school.” Id. at *6.




9
   The second case that Plaintiffs cite, Hayut v. State University of New York, 352 F.3d
733 (2d Cir. 2003), is distinguishable on several grounds. First, the alleged harasser there
was the student’s professor. Id. at 737. As the Supreme Court noted in Davis, “[t]he
relationship between the harasser and the victim necessarily affects the extent to which
the misconduct can be said to breach Title IX’s guarantee of equal access to educational
benefits,” and “[p]eer harassment . . . is less likely to satisfy these requirements than is
teacher-student harassment.” Id., 526 U.S. at 653, 119 S.Ct. at 1676. Moreover, the
harassment in Hayut was substantially more pervasive than in this case, and was also
more severe in that it involved public humiliation of the victim. In Hayut, the professor
harasser referred to a student in two of his classes as “Monica” – understood by the
harasser, the plaintiff, and her fellow students as a reference to Monica Lewinsky – at
least once per class for most of the school semester. He also addressed her as “Monica”
when they passed each other outside of class. Id., 352 F.3d at 738. On at least four
occasions, the professor also made other offensive comments, such as “How was your
weekend with Bill?,” “I will give you a cigar later,” and “You are wearing the same color
lipstick that Monica wears.” Id. at 738-39. The Second Circuit held that a jury could
find this conduct to be severe and pervasive enough to meet the standard for liability
under 42 U.S.C. § 1983, in part because the frequent comments “were generally made at
or near the beginning of [each class] . . . thereby setting the tone for the remainder of the
class period.” Id. at 746.

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               Similarly, in Soriano v. Bd. of Educ. of City of New York, No. 01-Civ.-

4961(JG), 2004 WL 2397610 (E.D.N.Y. Oct. 27, 2004), the court granted summary

judgment to the defendants where the fourth grade plaintiff was allegedly subjected to

two incidents of offensive touching – in one instance a fourth grade boy touched her

vagina through her skirt after two other boys told him to “rape her,” and approximately

six months later, another fourth grade boy slapped her buttocks. Id. at *6. The court held

that despite allegations that the plaintiff suffered nightmares and declining grades and had

to see a therapist, the alleged events could not support a finding that she was subjected to

harassment so severe and pervasive that she was denied access to the school’s resources.

Id. (granting summary judgment to defendants on plaintiff’s Title IX claim).

               While the e-mails sent to S.S. are highly offensive, no reasonable jury

could find that these two instances of sexual harassment – which stopped after a week

and were not public – “so undermine[d] and detract[ed] from . . . [S.S.’s] educational

experience, that . . . [S.S. was] effectively denied equal access to . . . [the High School’s]

resources and opportunities.” Davis, 526 U.S. at 651, 119 S.Ct. at 1675. Therefore, the

District is entitled to summary judgment on Plaintiffs’ Title IX claim. 10



10
   As noted above, this Court cannot rule as a matter of law on the issue of whether the
District was deliberately indifferent to the known acts of harassment here. To prevail in
showing deliberate indifference, a plaintiff must show that the defendant “caus[ed] . . .
[the victim] to undergo harassment or ma[de] . . . [her] liable or vulnerable to it.” Davis,
526 U.S. at 645, 119 S.Ct. at 1672 (internal quotations omitted). A defendant’s response
to alleged harassment may be “deemed ‘deliberately indifferent’” only if it was “clearly
unreasonable in light of the known circumstances.” Id., 526 U.S. at 648, 119 S.Ct. at
1674 (further stating that this standard “is not a mere ‘reasonableness’ standard”).
Deliberate indifference may be found “when remedial action only follows after a lengthy
and unjustified delay.” Hayut, 352 F.3d at 751 (internal quotation omitted).
       “When an educational institution takes timely and reasonable measures to end the
harassment, it is not deliberately indifferent. . . . The measures need not have been
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III.     PLAINTIFFS’ SECTION 1983 CLAIMS

               Plaintiffs also assert claims against the individual defendants under 42

U.S.C. § 1983, arguing that they are entitled to proceed under both an equal protection

theory and a substantive due process theory. (Pltf. Br. at 21-26) To prevail under




ultimately effective in preventing subsequent misconduct, so long as they were taken in
good faith.” Tesoriero v. Syosset Cent. Sch. Dist., 382 F. Supp. 2d 387, 398 (E.D.N.Y.
2005) (internal citations omitted). However, “where an educational institution either fails
to act, or acts in a way which could not have reasonably been expected to remedy the
violation, then the institution is liable for what amounts to an official decision not to end
discrimination.” Id. at 399 (internal quotation omitted).
        Courts have found that a school does not act with deliberate indifference toward
harassment where it “promptly investigates, institutes corrective measures, and
subsequently continues to monitor the situation.” Id. Here, the Court cannot find as a
matter of law that the District took any such steps. There are genuine factual disputes as
to how promptly the District took obvious and basic steps such as questioning M.X.;
interviewing the students identified by M.X. as having access to his account; changing
M.X.’s password; and disabling M.X.’s District e-mail account. Moreover, there is no
evidence that the District directly asked M.X. whether he sent the offensive e-mails to
S.S.; that it took any steps to gather and preserve information about use of its network
that might have assisted in determining who sent the e-mails; or that it monitored the use
of M.X.’s account after the first inappropriate e-mails were sent from the account.
        There is also evidence that the District chose to respond much more quickly and
thoroughly to other incidents of harassment. For instance, Rossi testified that when the
word “nigger” was found spray painted on a locker, it was photographed and then
removed within an hour, and the police were called within a day. (Rossi Dep. 163:7-
164:9) The school brought in a former student who was African-American to speak to
the student body, and also brought in a facilitator from the U.S. Department of Justice to
meet with students. (Russell Dep. 191:6-192:17) Similarly, when a pornographic picture
was e-mailed to the school librarian five or six years earlier, the District traced the e-mail
within a week, and identified and suspended the student responsible. (Fazio Dep. 21:6-
22:8, 23:11-26:3) Here, the District did not seek to obtain or preserve network system
logs that could have facilitated tracing the offensive e-mails until months after the e-mails
were sent. By that time, the logs had been destroyed.
        In sum, given the delays in the District’s actions, the failure to preserve evidence,
and the overall handling of the investigation, it is a jury question whether the District was
“deliberately indifferent” to the acts of sexual harassment that took place. This is
particularly true given the District’s knowledge of other highly offensive, sexually
oriented e-mail sent to another female student from M.X.’s account during the same time
period.

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Section 1983, Plaintiffs must show that the individual defendants directly participated in

conduct that deprived S.S. of a “right . . . secured by the Constitution or laws of the

United States.” Hayut v. State Univ. of New York, 352 F.3d 733, 744, 753 (2d Cir.

2003). Because Plaintiffs cannot establish that S.S. suffered a constitutional injury, they

cannot prevail on their Section 1983 claims.

        A.      S.S.’s Equal Protection Claim

                The Second Circuit has recognized “a constitutional right” under the Equal

Protection Clause “to an educational environment free of sexual harassment.” Bruneau v.

S. Kortright Cent. Sch. Dist., 163 F.3d 749, 758 (2d Cir. 1998) (considering peer

harassment claim); see also Fitzgerald v. Barnstable Sch. Comm., 129 S.Ct. 788, 792

(2009) (holding that Title IX does not preclude a Section 1983 equal protection claim in a

peer sexual harassment case). As under Title IX, to show that S.S. was deprived of this

right, Plaintiffs must show that S.S. was subjected to actionable sexual harassment – i.e.,

harassment so severe and pervasive that it “had an adverse effect on the terms and

conditions of her educational experience.” Hayut, 352 F.3d at 745-46 (describing

elements of Section 1983 equal protection claim in teacher-on-student harassment case).

                As noted above, however, the alleged harassment was not severe or

pervasive enough to support liability under Title IX. For the same reasons (see supra pp.

8-12), the alleged conduct is not severe or pervasive enough to constitute actionable

sexual harassment for purposes of Section 1983. 11 Therefore, Plaintiffs cannot show that



11
   Although “the standards for establishing liability [under Title IX and Section 1983]
may not be wholly congruent,” see Fitzgerald, 129 S.Ct. at 797, the Second Circuit has
made clear that a Section 1983 plaintiff pursuing a sexual harassment claim in the
“educational environment” must – as under Title IX – demonstrate that he or she was
subjected to “discriminatory intimidation, ridicule and insult . . . that is sufficiently severe
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S.S. was deprived of her right “to an educational environment free of sexual harassment,”

Bruneau, 163 F.3d at 758, and their Section 1983 equal protection claim fails as a matter

of law. See Back v. Hastings On Hudson Union Free Sch. Dist., 365 F.3d 107, 122 (2d

Cir. 2004) (“In order to establish individual liability under § 1983, a plaintiff must

show . . . that the defendant caused the plaintiff to be deprived of a federal right.”); Van

Dunk v. Brower, No. 07-Civ.-7087(RPP), 2009 WL 650352, at *8 (S.D.N.Y. Mar. 12,

2009) (in a Section 1983 case, “if there is no constitutional violation, there can be no

liability, either on the part of the individual officer or the government body”).

        B.      S.S.’s Substantive Due Process Claim

                Plaintiffs also cannot prevail under a substantive due process theory. To

do so, they must show that the individual defendants’ conduct was “egregious” and “can

fairly be viewed as so brutal and offensive to human dignity as to shock the conscience.”

Smith v. Half Hollow Hills Cent. Sch. Dist., 298 F.3d 168, 173 (2d Cir. 2002) (internal

quotation omitted); Yap v. Oceanside Union Free Sch. Dist., 303 F. Supp. 2d 284, 295

(E.D.N.Y. 2004) (same). Plaintiffs assert, without citation to case law, that Defendants’

failure to prevent the offensive e-mails or to identify the sender meets this standard.

(Pltf. Br. at 24)




or pervasive to [have] alter[ed] the conditions of . . . [the plaintiff’s] educational
environment.” Hayut, 352 F.3d at 745 (quotations and citation omitted) (applying
“severe and pervasive” test to Section 1983 claim premised on teacher-on-student
harassment); see also Cox v. Sugg, 484 F.3d 1062, 1067 (8th Cir. 2007) (citing Hayut in
support of holding that “the individual defendant’s liability under § 1983 for alleged
constitutional violations [should be measured] by the standards of the institution’s Title
IX liability”); Levarge v. Preston Bd. of Educ., 552 F. Supp. 2d 248, 254 (D. Conn. 2008)
(applying same standards in analyzing severity and pervasiveness of alleged harassment
for purposes of Title IX and Section 1983 claims).

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               Whether or not a jury could find, however, that Defendants failed to take

steps that (1) might have prevented one or two of the offensive e-mails from being sent to

S.S., or (2) might have identified the sender, such a failure “simply is not of

constitutional proportions.” Smith, 298 F.3d at 173 (allegations that teacher slapped a

student once without any valid reason could not support a substantive due process claim);

see Saggio v. Sprady, 475 F. Supp. 2d 203, 209 (E.D.N.Y. 2007) (holding that “the

argument that a school district can violate substantive due process by not protecting

students from harassment has been generally rejected or, at least, the atmosphere that

must exist for such a violation is much more extreme than” the three verbally or

physically abusive encounters with other students alleged by plaintiff); Scruggs v.

Meriden Bd. of Educ., No. 03-Civ.-2224, 2007 WL 2318851, at **12-13 (D. Conn. Aug.

10, 2007) (school officials’ alleged failure to remedy bullying and harassment of plaintiff

by other students was insufficient to support substantive due process claim where there

was no evidence that the officials encouraged or affirmatively permitted the harassment).

Accordingly, Defendants are also entitled to summary judgment on Plaintiffs’ Section

1983 substantive due process claim.

IV.     PLAINTIFFS’ MOTION TO STRIKE

               Plaintiffs have moved to strike certain paragraphs of Defendants’ Rule

56.1 Statement and the affidavits submitted by Defendants in support of their summary

judgment motion. For the reasons stated below, Plaintiffs’ motion is denied, although the

Court has not considered certain evidence offered by Defendants in deciding their

summary judgment motion.




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       A.      Paragraphs in Defendants’ Rule 56.1
               Statement that Do Not Cite Admissible Evidence

               Plaintiffs moved to strike paragraphs 6, 15, 18, 33, 36, 37 and 38 of

Defendants’ Rule 56.1 Statement because those paragraphs do not cite to admissible

evidence, in violation of Local Rule 56.1(d). (Pltf. Mot. to Strike ¶¶ 1-7) In their

opposition to Plaintiffs’ motion, Defendants provide citations purporting to support the

statements contained in all of the paragraphs listed above except for paragraph 33. (Def.

Mot. to Strike Opp. Br. at 2-3) Because Plaintiffs have not identified any prejudice they

suffered based on Defendants’ original failure to provide proper citations to the record,

the Court will not strike the six paragraphs for which Defendants have now provided cites

to admissible evidence. See Frooks v. Town of Cortlandt, 997 F. Supp. 438, 445 n.1

(S.D.N.Y. 1998) (“Rule 56.1 does not prohibit the consideration of untimely statements,

particularly where the admission of the statement will not prejudice an opposing party.”);

Balut v. Loral Elec. Sys., 988 F. Supp. 339, 343-44 (S.D.N.Y. 1997) (a court “may

overlook the ‘technical deficiency’ of a party’s [Rule 56.1] submission”). Because

Defendants have not cited to admissible evidence supporting paragraph 33, however, the

Court has not considered this statement in deciding Defendants’ summary judgment

motion.

       B.      Defendants’ Affidavits

               Plaintiffs have moved to strike the Gilbride, Russell, Fazio, Rossi and

Guiney affidavits and paragraphs 27, 28, 29, 30, 21 and 35 of Defendants’ Rule 56.1

Statement, which cite those affidavits. Plaintiffs argue that these affidavits are “sham

affidavits” because the affiants are defendants in this case and are therefore “interested

parties.” (Pltf. Mot. to Strike ¶ 8) Nothing in the Federal Rules of Civil Procedure,


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however, precludes a party from submitting his or her own affidavit in support of a

summary judgment motion. Indeed, Fed. R. Civ. P. 56(e) expressly provides that a party

may support a summary judgment motion with such an affidavit, as long as it is “made on

personal knowledge, set[s] out facts that would be admissible in evidence, and show[s]

that the affiant is competent to testify on the matters stated.” Fed. R. Civ. P. 56(e)(1).

               Moreover, “nothing in the rules or the case law requires a court to strike

any portion of . . . [a Rule 56(e)] affidavit that is not properly supported.” Miller v.

Batesville Casket Co., No. 02-Civ.-5612(DLI)(ARL), 2007 WL 2120371, at *6

(E.D.N.Y. July 23, 2007). A court may decline to conduct a line-by-line analysis and

instead simply disregard the allegations that are not properly supported. Id. at *5; see

also Flaherty v. Filardi, No. 03-Civ.-2167(LTD)(HBP), 2007 WL 163112, at *4

(S.D.N.Y. Jan. 24, 2007) (same); Doe v. Nat’l Bd. of Podiatric Medical Examiners, No.

03-Civ.-4034(RWS), 2004 WL 912599, at *4 (S.D.N.Y. Apr. 29, 2004) (same).

               Here, there is no basis for disregarding Defendants’ affidavits in their

entirety. The Court has disregarded, however, those portions of Defendants’ affidavits

and Rule 56.1 Statement that are not based on personal knowledge, rely on hearsay, or

are otherwise inadmissible. See Hollander v. Am. Cyanamid Co., 172 F.3d 192, 198 (2d

Cir. 1999) (court may disregard “portions of an affidavit that are not based upon the

affiant’s personal knowledge, contain inadmissible hearsay or make generalized and

conclusory statements”). The Court has likewise disregarded the affidavits to the extent

that they are inconsistent with that witness’s deposition testimony.

       C.      Defendants’ Exhibits

               Plaintiffs also seek to strike two of Defendants’ exhibits: (1) Exhibit J to

the Rossi Affidavit, which is entitled “Hastings High School Code of Conduct” and
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